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 SO ORDERED.

 SIGNED this 21 day of March, 2024.




                                              _____________________________________________
                                              Joseph N. Callaway
                                              United States Bankruptcy Judge
 ___________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:
 COVENANT ROOFING AND                                        CASE NO: 23-00999-5-JNC
 CONSTRUCTION, INC.
          Debtor                                                            Chapter 7

                       ORDER DISMISSING SHOW CAUSE ORDERS
                          AND VACATING CONTEMPT ORDER

          The matter before the court is the Order Noticing and Requiring Attendance at Show Cause
 Hearing on Contempt entered February 21, 2024 (Dkt. 370, the “Contempt Order”) directing
 CENTERCARD to appear and show cause as to why it should not be held in civil contempt for
 failure to comply with the Order (Dkt. 301) and Amended Order (Dkt. 313) to Show Cause, both
 dated January 29, 2024 (together, the “Orders to Show Cause”), directed against CENTERCARD
 of Bellevue, Washington. CENTERCARD responded in opposition to the Contempt Order and the
 Show Cause Orders by filing on March 20, 2024 (Dkt. 381, the “Response”). A hearing was
 noticed for and held on March 21, 2024, in Raleigh, North Carolina. James Angell appeared on
 behalf of the Trustee (“Trustee”), and A. Lee Hogewood appeared for CENTERCARD. From the
 record, the court finds as follows:

         1. This matter is a core proceeding pursuant to 28 U.S.C. §157, and the court has the full
 jurisdiction pursuant to 28 U.S.C. §§ 151, 157, and 1334. The court has the authority to hear
 this matter pursuant to the General Order of Reference entered August 3, 1984, by the United
 States District Court for the Eastern District of North Carolina.

         2. The debtor herein filed a voluntary petition under Chapter 11 of the United States
 Bankruptcy Code on April 11, 2023. The case was converted to one under chapter 7 on June 29,
 2023. Mr. James B. Angell of Raleigh, North Carolina, was duly appointed and qualified to hold
 the office of and act as the Chapter 7 Trustee in it.

        3. On August 7, 2023, at the request of the Trustee, the court entered an Order Directing
 a Rule 2004 Examination (Dkt. 170; the “Rule 2004 Order”), which compelled and directed
 CENTERCARD to produce to the Trustee described documents and records pertaining to the
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 debtor and this case. The Rule 2004 Order was served by the Trustee on CENTERCARD by first-
 class United States mail on August 8, 2023, at the address provided by the debtor. (Dkt. 193).

        5. CENTERCARD failed to respond to the Order Directing a Rule 2004 Examination by
 producing documents and records, or otherwise communicating with the Trustee.

         6. Consequently, the Trustee sought and obtained the Show Cause Orders, which specified
 that a hearing on noncompliance was set before the court for February 20, 2024 in Raleigh, North
 Carolina. When the matter was called for hearing in open court at the noted date and time, Trustee
 Angell appeared and was prepared to proceed, but neither CENTERCARD nor an attorney on its
 behalf appeared at the February 20 hearing.

          7. The court found CENTERCARD to be in default and defiance of the Rule 2004 Order
 and the Show Cause Orders. It entered the Contempt Order directing CENTERCARD come before
 the court to explain its failure to obey orders directed to it and show why it should not be held in
 civil contempt. Further, the Contempt Order sanctioned CENTERCARD for failure to appear at
 the February 20 hearing, and consequently assessed attorney fees of $500.00 incurred by the
 Trustee in connection therewith. Further, the Contempt Order directed CENTERCARD to appear
 at a further hearing set for March 21, 2024.
        8. According to the Response, and as detailed by the Trustee at the hearing,
 CENTERCARD was not properly served with the Show Cause Orders. Upon good service of the
 Contempt Order, counsel for CENTERCARD promptly contacted the Trustee and has provided
 documents which the Trustee contends satisfy the Rule 2004 Order. The Trustee therefore
 withdrew the show cause motion on the record and orally moved the court to VACATE the
 contempt order, specifically striking the $500 sanction in the Contempt Order.
         Based upon the findings above and the further record in this case, for good cause shown
 and for compliance with the prior orders, it is ORDERED as follows:
        1. The Show Cause Orders are DISMISSED.

        2. The Contempt Order is VACATED.

        3. The sanction assessing attorney fees at $500.00 is stricken and set aside.

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